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REBECCA H. TREACE, U£§MFMICUBT

W C§: le`~=i‘ §.-EEMPHS
Plaintiff,

v. No. 03-2409 Ml/P

UNUM LIFE INsURANcE coMPANY
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Defendant.

 

ORDER ADOPTING AS AMENDED THE MAGISTRATE JUDGE'S MAY 27, 2005,
REPORT AND RECOMMENDATION

 

On April 19, 2005, the Court referred Plaintiff’s Renewed
Motion for Sanctions and for Modification of the Court’s
Scheduling Order, filed January 21, 2005, and Plaintiff's Report
of Face to Face Meeting Concerning Plaintiff's Renewed Motion for
Sanctions and for Modification of the Court’s Scheduling Order
and Plaintiff's Second Motion for Sanctions, filed March 15,
2005, to the United States Magistrate Judge for report and
recommendation. The magistrate judge issued a report and
recommendation on May 27, 2005, recommending that Plaintiff's
motion be granted in part and denied in part. Plaintiff filed
objections on June 13, 2005, to which Defendant responded on June
27, 2005.

Upon de novo review of the parties' original motions, the

magistrate judge's report, Plaintiff’s objections, and

Th!s document entered on the docket sheet in compliance

with Ru|e 58 and/or 79(a) FRCP on 7'[,§'125 2 ; 0

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Defendant’s responser the Court ADOPTS the magistrate judge's
report as amended below.

In his report, the magistrate judge found that Defendant
should be sanctioned for its failure to timely produce a
telephone log pursuant to Plaintiff’s requests and the order of a
previous magistrate judge. (See May 2?, 2005, Report and
Recommendation at 16.) Plaintiff reguested, inter alia, that
monetary sanctions be imposed upon Defendant due to its discovery
conduct. The magistrate judge did not assess any monetary
sanctions against Defendant for its conduct. As relief, the
magistrate judge recommended that discovery in this case be re-
opened to allow Plaintiff to seek some additional information
from Defendant or other third parties. (See May 27, 2005, Report
and Recommendation at 18-19.) The Court hereby AMENDS the
magistrate judge’s report to set the following schedule in this
case:

Discovery shall be reopened in this case until §QXQQQQL_QL
2005. During that period, Plaintiff may conduct additional
discovery on issues relating to telephone calls placed by
Plaintiff to Defendant’s call center, and Plaintiff may issue
third-party subpoenas regarding those telephone calls, if
necessary.

Also during that period, Plaintiff may disclose additional

expert witnesses. Any such disclosures must be made by September

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8, 2005. Defendant shall disclose any additional rebuttal
experts by 0ctober 8l 2005. Any expert depositions shall be
completed by November 8l 2005.
Plaintiff may also notice the depositions of Ralph Mohney
and Tim Arnold. Any such notices shall be filed by August 8l
2005. Those depositions shall be completed by November 8l 2005.
In addition, the Court hereby sets the following trial
schedule in this case:
Trial: Mondav. December 12. 2005, at 9:30 a.m.
Pretrial Conference: Mondav. December 5, 2005, at 8:45 a.m.
Pretrial Order: Mondav. November 281 2005. bv 4:30 D.m.
Further, the Court finds that monetary sanctions are
appropriate due to Defendant’s conduct. Accordingly, Plaintiff
is instructed to submit an application for costs and attorney’s
fees related to its efforts to obtain the telephone logs

eventually produced by Defendant.

so 0RDERED this 6 day of July, 2005.

mud

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

         

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Notice of Distribution

This notice confirms a copy of the document docketed as number 260 in
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Honorable .1 on McCalla
US DISTRICT COURT

